
215 Md. 659 (1958)
139 A.2d 242
NETTLES
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 93, September Term, 1957.]
Court of Appeals of Maryland.
Decided March 3, 1958.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
HENDERSON, J., delivered the opinion of the Court.
Petitioner was denied a writ of habeas corpus by Judge Byrnes, in the Baltimore City Court, and applies for leave to appeal. He was convicted of manslaughter in the Circuit *660 Court for Baltimore County and sentenced to five years. He complains that he was denied "due process" in that he was first held as a witness, and asked the police for a lawyer, before being taken before a magistrate, but the request was denied. In denying the writ, Judge Byrnes stated: "The court records show that at the time of petitioner's trial he was represented by David N. Bates, a competent member of the Baltimore City and Baltimore County Bar". There is no showing of a denial of due process. The petitioner was not entitled to the appointment of counsel at the preliminary hearing.
Application denied, with costs.
